                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

DAVID GIROUX, Derivatively on Behalf
of ACER THERAPEUTICS, INC.,

                    Plaintiff,                       Lead Case No. 1:20-cv-10537

       v.                                            Hon. George A. O’Toole, Jr.

JASON AMELLO, STEVE ASELAGE,
HUBERT BIRNER, JOHN M. DUNN,
MICHELLE GRIFFIN, LUC MARENGERE,
HARRY PALMIN, and CHRIS SCHELLING,

                      Defendants,

       and

ACER THERAPEUTICS, INC.,

                      Nominal Defendant.




    UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT

       Now comes the Plaintiff in the above-referenced action and he hereby respectfully moves

this Honorable Court to grant preliminary approval of the settlement of this derivative action by

entering the Proposed Preliminary Approval and Scheduling Order (“Preliminary Approval

Order”) submitted herewith. In support of this Unopposed Motion, the Plaintiff relies upon the

Stipulation of Settlement and all exhibits appended thereto, also submitted herewith, together with

the accompanying Memorandum of Law in Support of the Unopposed Motion, attached Appendix,

and the Declaration of W. Scott Holleman in Support of the Unopposed Motion, together with its

exhibits. In addition, the parties respectfully request that the Court calendar a date for the final

Fairness Hearing, as discussed in the Preliminary Approval Order, at a date that is convenient for

the Court.
Dated: January 21, 2021   Respectfully Submitted,

                          /s/ Shannon L. Hopkinss
                          Shannon L. Hopkins
                          LEVI & KORSINSKY LLP
                          1111 Summer Street, Suite 403
                          Stamford, Connecticut 06905
                          (203) 992-4523
                          shopkins@zlk.com


                          BRAGAR EAGEL & SQUIRE, P.C.
                          W. Scott Holleman
                          Garam Choe
                          810 Seventh Avenue, Suite 620
                          New York, NY 10019
                          Tel: (646) 860-9449
                          Email: holleman@bespc.com

                          Counsel for Plaintiff David Giroux
                                 CERTIFICATE OF SERVICE

       I, Shannon L. Hopkins, certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on January 21, 2021.


Dated: January 21, 2021                               /s/Shannon L. Hopkins
                                                      Shannon L. Hopkins
